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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
OCEANA, INC.,                       )
                                    )
              Plaintiff,            )
                                    )
       v.                           )
                                    )
WILBUR L. ROSS, United States       )
Secretary of Commerce, et al.,      )                 Civil Action No. 08-1881 (PLF)
                                    )
              Defendants,           )
                                    )
       and                          )
                                    )
FISHERIES-SURVIVAL FUND,            )
                                    )
              Defendant-Intervenor. )
____________________________________)


                                              ORDER

                For the reasons set forth in the opinion issued this same day, it is hereby

                ORDERED that this matter is REMANDED WITHOUT VACATUR to the

National Marine Fisheries Service for the limited purpose outlined in the accompanying opinion;

it is

                FURTHER ORDERED that the parties shall meet and confer in order to propose

a schedule by which the National Marine Fisheries Service (“NMFS”) will address the

deficiencies identified in the accompanying opinion. On or before October 30, 2020, the parties

shall file a joint status report informing the Court whether they have reached agreement on a

proposed schedule. If the parties are not in agreement, they shall inform the Court of their

respective positions; and it is
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               FURTHER ORDERED that the NMFS shall file status reports updating the Court

on its formal consultation progress every sixty days.

               SO ORDERED.


                                                          /s/
                                                        _____________________
                                                        PAUL L. FRIEDMAN
                                                        United States District Judge

DATE: October 1, 2020




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